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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

          Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                                JUDGMENT

          THIS CAUSE comes before the Court upon the order granting Defendants’ motion for

  summary judgment entered concurrently herewith. It is hereby

          ORDERED AND ADJUDGED that Judgment is entered in favor of Defendant on

  Plaintiffs’ defamation claim. It is further

          ORDERED AND ADJUDGED that the case is CLOSED for administrative purposes.

  All hearings, including the Pretrial Conference set for Friday, December 21, 2018 at 2:30 P.M.,

  are CANCELLED, and all other motions EXCEPT the New York Times Company’s motion to

  intervene (D.E. 254) are DENIED AS MOOT.

          DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of December,

  2018.



                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE


  cc:
  counsel of record via cm/ecf
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